             Case 2:18-cr-00315-RAJ Document 327 Filed 09/16/21 Page 1 of 4




 1                                                             The Honorable Richard A. Jones
 2
 3
 4
 5
 6
 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
      UNITED STATES OF AMERICA,                      NO. CR18-315 RAJ
10
11                          Plaintiff,               GOVERNMENT’S RESPONSE TO
                                                     UNSEALING REQUEST
12
                      v.
13
14    GIZACHEW WONDIE,
                                                     (Filed Under Seal)
                            Defendant.
15
16
17         The government opposes the Defendant’s request that this Court unseal the two
18 referenced Orders in their entirety. Dkt Nos. 314 and 321. In the alternative, the
19 government proposes entry of an order unsealing redacted versions of the Orders. This
20 proposal is not offered to frustrate or undermine the public’s interest in learning any
21 aspect of this proceeding. Rather, it is offered to protect a compelling public interest:
22 preserving the integrity of an open state homicide investigation.
23 A.      Relevant Procedural History
24
           Defendant’s counsel initially sought government approval to release the sealed
25
     Orders to separate counsel who was presumably retained to represent the Defendant in
26
     another proceeding. It subsequently became clear that the initial request would be
27
     expanded to include unsealing the Orders in their entirety. In response, the government
28
      GOVERNMENT’S RESPONSE TO UNSEALING REQUEST - 1                        UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
      United States v. Gizachew Wondie, CR18-315 RAJ
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
             Case 2:18-cr-00315-RAJ Document 327 Filed 09/16/21 Page 2 of 4




 1 advised counsel it would seek input from the King County Prosecuting Attorney’s Office
 2 before responding to the request based on concerns that references in the Orders could
 3 potentially impact the ongoing state homicide investigation. King County Senior Deputy
 4 Prosecuting Attorney Scott O’Toole subsequently provided the government with redacted
 5 versions of the two Orders, proposing limited redactions. Copies of the redacted versions
 6 are attached hereto as Exhibits A (Dkt. No. 314, the Franks Order) and B (Dkt. No. 321,
 7 the probable cause Order).
 8          The government forwarded the proposed redacted versions of both Orders to
 9 Defendant’s counsel with the representation that it would not oppose entry of an order
10 authorizing the filing of the redacted versions. Counsel advised the government that the
11 redactions were unacceptable, and this motion followed.
12 B.       Legal Standard
13          The First Amendment affords the press and the public a presumed right of access
14 to court proceedings and documents. See generally Press–Enterprise Co. v. Superior
15 Court, 464 U.S. 501, 510, 104 S.Ct. 819, 824, 78 L.Ed.2d 629 (1985). Similarly, courts
16 recognize that the public has a “common-law” right “to inspect and copy public records
17 and documents.” Nixon v. Warner Commc'ns, Inc., 435 U.S. 589, 597, 98 S.Ct. 1306, 55
18 L.Ed.2d 570 (1978). These presumed rights, however, are not absolute. They can be
19 overcome by an overriding right or interest “based on findings that closure is essential to
20 preserve higher values and is narrowly tailored to serve that interest.” Press Enterprise, at
21 510; Nixon, at 598. More importantly, for purposes of the Defendant’s pending request to
22 unseal the Orders in their entirety, the general presumption in favor of open judicial
23 proceedings requires that the district court consider alternatives to closure, such as
24 redaction. United States v. Index Newspapers LLC, 766 F.3d 1072, 1097 (9th Cir. 2014).
25 C.     Argument
26
            The Defendant’s argument rests almost entirely on repeated references to the need
27
     for transparency in judicial proceedings. As applied to this proceeding, however, he fails
28
      GOVERNMENT’S RESPONSE TO UNSEALING REQUEST - 2                       UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
      United States v. Gizachew Wondie, CR18-315 RAJ
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
             Case 2:18-cr-00315-RAJ Document 327 Filed 09/16/21 Page 3 of 4




 1 to articulate how redacting specific limited factual references to certain aspects of the
 2 open state homicide investigation obscures the public’s ability to understand and discern
 3 this Court’s analysis of the federal prosecution. The Defendant engaged in a robust
 4 motions practice to secure dismissal of the charged drug and firearm offenses. He
 5 succeeded. His objective was realized. The outstanding charges were dismissed with
 6 prejudice. The proposed redactions—none of which are substantive, but merely obscure
 7 the state investigation from which this case arose—will not deprive the public of the
 8 Court’s analysis in reaching its decisions.
 9         The Defendant’s argument seeking unsealing makes no mention of the ongoing
10 state homicide investigation and the public’s corresponding interest in eliminating or
11 significantly reducing the risk of disclosing information that may compromise law
12 enforcement efforts. This omission, paired with rejection of the government’s proposed
13 alternative of publishing redacted versions of the Orders, is telling.
14          The Defendant notes that limited references to the state investigation were
15 introduced by both parties in filed pleadings and during court proceedings. In most of
16 those instances, the references were inadvertent. Regardless of the scope, number, and
17 context, there is no authority supporting this waiver theory advanced by the Defendant.
18 The government undertook extensive efforts to limit public access to any information that
19 would compromise the state investigation, generally without any objection from the
20 defendant. As the Court is aware, attempts were made to anonymize references to
21 individuals and groups believed to be associated with the homicide investigation. The
22 overwhelming majority of substantive pleadings related to these two issues were filed
23 under seal. Extensive protective orders were entered restricting access to discovery. Each
24 of these steps were undertaken for the recognized purpose of protecting an open
25 investigation. That purpose remains valid today. It has not been waived.
26         To be clear, the limited redactions sought by the government on behalf of King
27 County are not being requested to diminish embarrassment, avoid recriminations, or
28 minimize exposure to further litigation. They are sought for the singular purpose of
     GOVERNMENT’S RESPONSE TO UNSEALING REQUEST - 3                          UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     United States v. Gizachew Wondie, CR18-315 RAJ
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
             Case 2:18-cr-00315-RAJ Document 327 Filed 09/16/21 Page 4 of 4




 1 preserving the integrity of an open homicide investigation. See Declarations of Senior
 2 Deputy Prosecuting Attorney Scott O’Toole and King County Sheriff’s Office Detective
 3 John Free, attached as Exhibits C (O’Toole) and D (Free). Through the law enforcement
 4 efforts of county detectives and prosecutors, the public interest in identifying and
 5 prosecuting those responsible for the homicide is being advanced. Ex. C, at ¶ 9; Ex. D,
 6 at¶ 7. Any step that could undermine these efforts should be denied, particularly when it
 7 serves no purpose.
 8         In summary, the Defendant achieved his objective. The federal prosecution has
 9 been dismissed. Publication of the proposed redacted Orders does nothing to undermine
10 this result. The minimal redactions do not deprive the public of the opportunity to access
11 this Court’s analysis. They do preserve the public’s compelling interest in protecting
12 public safety by reducing risks associated with disclosure of law enforcement sensitive
13 information. The government respectfully requests that Defendant’s motion to unseal the
14 two Orders in their entirety be denied and that the redacted versions be substituted and
15 entered on the public docket.
16         DATED this 16th day of September, 2021.
17
18                                                 Respectfully submitted:
19
                                                   TESSA M. GORMAN
20                                                 Acting United States Attorney
21
                                                   /s/ James D. Oesterle
22                                                 JAMES D. OESTERLE
                                                   ERIN H. BECKER
23
                                                   Assistant United States Attorneys
24                                                 United States Attorney’s Office
25                                                 700 Stewart Street, Suite 5220
                                                   Seattle, Washington 98101-1271
26                                                 Phone: (206) 553-7970
27
28
     GOVERNMENT’S RESPONSE TO UNSEALING REQUEST - 4                        UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Gizachew Wondie, CR18-315 RAJ
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
